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                      UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY
                             CAMDEN VICINAGE


  MARC A. STEPHENS
                                          CIVIL ACTION NO. 1:22-cv-01989
  Plaintiff,                                        (KMW-MJS)

  v.

  GURBIR S.GREWAL,ATTORNEY
  GENERAL, STATE OF NEW JERSEY,
  ATLANTIC COUNTY PROSECUTOR’S              REPLY BRIEF IN SUPPORT OF
  OFFICE, STOCKTON UNIVERSITY,            DEFENDANTS’MOTION TO DISMISS
  GALLOWAY TOWNSHIP,ROBERT                 PURSUANT TO FED. R. CIV. P.
  BLASKIEWICZ, Jr., SERGEANT                         12(b)(6)
  MICHAEL MATTEOLI

  Defendants.




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                               PRELIMINARY STATEMENT

       Pro   se    Plaintiff   Marc     Stephens   (hereinafter   “Plaintiff”)

 brings this action against Defendants Stockton University and

 Robert Blaskiewicz, Jr., alleging ten separate causes of action

 which are predicated on alleged violations of 42 U.S.C.A. §1983 as

 well as New Jersey tort law.

       Plaintiff has alleged that Stockton is a New Jersey public

 entity   and     the   employer   of   Blaskiewicz,   who   is   an   Assistant

 Professor of Critical Thinking and First Year Studies. (ECF-1 ¶ 7,

 ¶ 8). Plaintiff alleged further that Defendant Stockton is an arm

 of the state and Defendant Blaskiewicz is a state actor by virtue

 of his employment at Stockton. (ECF-1 ¶ 52).

       Defendants Stockton and Blaskiewicz have moved to dismiss

 Plaintiff’s §1983 and common law tort claims because Stockton and

 Blaskiewicz, are immune from suit under the Eleventh Amendment.

       Stockton and Blaskiewicz also moved to dismiss Plaintiff’s

 common law tort claims due to the Plaintiff’s failure to file a

 Notice of Claim, which is a mandatory prerequisite to instituting

 suit against the State under the New Jersey Tort Claims Act.

       Plaintiff has filed Opposition to that application asserting

 that he should be relieved from the notice requirements of the

 Tort Claims Act and, although not specifically pleaded in the body

 of the Complaint, he contends that Blaskiewicz faces liability in

 his individual in addition to his official capacity.
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       Defendants submit the within Reply in response to Plaintiff’s

 arguments regarding the Tort Claims Act as well as his contention

 that the Complaint supports the imposition of §1983 liability upon

 Blaskiewicz in his individual capacity.


                                  ARGUMENT

                                   POINT I

            PLAINTIFF’S  SECTION   1983   CLAIMS  AGAINST
            BLASKIEWICZ SHOULD BE DISMISSED AS PLAINTIFF
            HAS FAILED TO PLEAD SUFFICIENT FACTS THAT
            BLASKIEWICZ ACTED UNDER COLOR OF STATE LAW


       Section 1983 is a vehicle by which plaintiffs can bring

 federal constitutional and statutory challenges to actions by

 state and local officials.        Anderson v. Warner, 451 F.3d 1063,

 1067 (9th Cir. 2006).      In order to state a claim under Section

 1983, a plaintiff must allege a violation of a right secured by

 the Constitution and the laws of the United States and must show

 that the alleged deprivation was committed by a person acting under

 color of state law.      West v. Atkins, 487 U.S. 42, 48, 108 S.Ct.

 2250, 101 L.Ed. 2d. 40 (1988).       Dismissal of a Section 1983 claim

 on a 12(b)(6) is proper if the Complaint is devoid of factual

 allegations that give rise to a plausible inference of either

 element.    See, e.g. DeGrassi v. City of Glendora, 207 F.3d 636,

 647 (9th Cir. 2000); Price v Hawaii, 939 F. 2d 636, 647 (9 th Cir.

 1991).


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       In the instant case, other than alleging that Defendant

 Blaskiewicz is a state actor by virtue of his employment at

 Defendant Stockton, the Complaint contains no allegations that

 Blaskiewicz acted       in that capacity when he allegedly perpetrated

 various wrongs asserted by the Plaintiff.

       Specifically,     in    the   Complaint   alleges      that   Blaskiewicz:

 engaged in on line harassment, improper email communications,

 fabricated    a   complaint    and     fabricated    social   media    accounts.

 However, nowhere in the Complaint does Plaintiff allege any nexus

 between those activities and Blaskiewicz’ position as a member of

 the faculty at Stockton.

       In order to act under color of state law, an individual must

 exercise power that is possessed by virtue of state law and made

 possible only because the wrongdoer is clothed with the authority

 of state law.      United States v. Classic, 313 U.S. 299, 326, 61

 S.Ct. 1031, 85 L.Ed. 1368 (1941).            A defendant in a Section 1983

 case acts under color of state law when he abuses the position

 given to him by the state.           West v. Atkins, 487 U.S. 42, 49-50,

 108 S.Ct. 2250, 101 L.Ed. 2d. 40 (1988).            That element is generally

 satisfied when a state employee wrongs someone while acting in his

 official     capacity    or    while    exercising     his    responsibilities

 pursuant to state law.        Id.



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        Here,      the   alleged    misconduct     by   Blaskiewicz   towards          the

 plaintiff      through      his    personal       on   line   activity        are     not

 specifically alleged to have been performed under color of state

 law    and   as    such,   those       alleged   activities   do   not    constitute

 violations under Section 1983.              See, Naffe v Frey, 789 F. 3d 1030

 (9th Cir. 2015) (The personal blogging activity of an assistant

 district attorney, although antagonistic, were unrelated to his

 office and held not to be under color of state law).                          Likewise,

 Plaintiff has not alleged that Blaskiewicz acted under color of

 state law when he filed a complaint with the police regarding

 Plaintiff’s email communications.                 Likewise, that activity, as

 pleaded,     is    unrelated      to    Blaskiewicz’    employment       by    a    state

 university and therefore was not performed under color of state

 law.    Myers v Bowman, 713 F. 3d 1319 (11 th Cir. 2013). (Magistrate

 Judge did not act under color of state law when he reported a theft

 to the police, because in reporting the crime, he acted only as a

 private individual).

        Consequently, Plaintiff has failed to plead sufficient facts

 so as to impose §1983 liability upon Blaskiewicz and as such, those

 claims should be dismissed.




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                                 POINT II

            PLAINTIFF’S CLAIMS GROUNDED IN TORT SHOULD BE
            DISMISSED AS PLAINTIFF HAS FAILED TO TIMELY
            FILE A TORT CLAIMS NOTICE PURSUANT TO NJSA 59:
            8-8(A)


       In the instant case, Plaintiff’s Complaint was filed on

 April 4, 2022. (ECF 1).       Plaintiff has acknowledged that his

 cause of action in the within matter accrued on January 27,

 2022. (ECF 14 at p. 4). Defendants Stockton and Blaskiewicz have

 sought dismissal of Plaintiff’s common law tort claims because

 Plaintiff‘s failed to file a tort claims notice pursuant to the

 Tort Claims Act.

       The New Jersey Tort Claims Act (“TCA”) requires that a

 notice of claim be filed within ninety days after the accrual of

 a cause of action.     After the expiration of six months from the

 date the notice of claim is received, the claimant may file suit

 in an appropriate court of law.          See N.J.S.A. 59:8-8(a).   Where

 an individual fails to comply with that procedural requirement,

 he or she shall be forever barred from recovery against a New

 Jersey public entity or employee. Martin v. Unknown U.S.

 Marshalls, 965 F. Supp. 2d 502, 549 (D.N.J. 2013), Hashem v

 Hunterdon County, No. 15-8585 (FLW) (DEA), 2016 U.S. Dist. LEXIS

 134055 at *31 (D.N.J. Sep. 29, 2016).          Here, since Plaintiff has

 failed to timely file the requisite Tort Claims Notice, pursuant



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 to the dictates of the statute, his common law tort claims must

 be dismissed as to the Defendants herein.

       Plaintiff responds by asserting:        (1) that he filed a tort

 claims notice, (2) that he has up to one year to file a notice

 of claim, (3) since he is proceeding pro se, his carelessness

 and negligence may be excusable, (4) he has substantially

 complied with the statute, (5) statutes do not supersede the

 common law and due process, and (6) a lack of prejudice to the

 Defendants.

       Although Plaintiff     alleges that he “forwarded a Notice of

 Tort claim to the Stockton defendants legal counsel” (ECF 14 at

 p. 4), an examination of Plaintiff’s cited Exhibits, reveals

 that rather than filing the required Tort Claims Notice,

 Plaintiff attempted to serve a copy of the Complaint which he

 had already filed in the within matter. (ECF 14 at pp. 8-11) In

 actuality, as set forth in our original motion papers, Plaintiff

 has never filed a Tort Claims Notice with respect to Stockton or

 Blaskiewicz.    (ECF 9 Exhibit A)        As such, Plaintiff, in

 violation of the statute, brought the within lawsuit without

 having first filed a Tort Claims Notice within 90 days of the

 accrual of his cause of action.

       Plaintiff also asserts that Defendants’ application should

 be denied because he has up to one year to file a notice of



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 claim.   However, in order to do so, Plaintiff must comply with

 NJSA 59:8-9 which, in relevant part provides:

       A claimant who fails to file notice of his claim
       within 90 days as provided in section 59:8-8 of this
       act may, in the discretion of a judge of the Superior
       Court, be permitted to file such notice at any time
       within one year of the accrual of his claim provided
       that the public entity or the public employee has
       not been substantially prejudiced thereby. Application
       to the court for permission to file a late notice
       of claim shall be made upon motion and supported by
       affidavits based upon personal knowledge of the
       affiant showing sufficient reasons constituting
       extraordinary circumstances for his failure to file
       a notice of claim within the time prescribed by
       section 59:8-8. (Emphasis added)

       Accordingly, Plaintiff is required to file an application

 before a judge of the Superior Court of New Jersey and

 demonstrate extraordinary circumstances for his failure to file

 a notice of claim within the 90 day statutory time frame. See,

 O’Neil v City of Newark, 304 N.J. Super. 543 (App. Div. 1997).

       Here, Plaintiff has taken no steps to comply with NJSA

 59:8-9 and has failed to articulate any rationale that would

 suggest, let alone establish, extraordinary circumstances.

 Instead, Plaintiff contends that his “carelessness and

 negligence” in failing to comply with the statute should be

 excused since he is a pro se litigant.

       Carelessness and negligence however do not constitute

 exceptional circumstances. See, Zois v New Jersey Sports

 Exposition Authority, 286 N.J. Super. 670 (App. Div. 1996).           In


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 addition, ignorance of the 90-day notice requirement, whether it

 be on the part of counsel or the litigant, does not constitute

 exceptional circumstances either.         See, Wood v County of

 Burlington, 302 N.J. Super. 371 (App. Div. 1997); Escalante v

 Township of Cinnaminson, 283 N.J. Super. 244 (App. Div. 1995).

 Consequently, Plaintiff’s “carelessness and negligence” does not

 constitute “exceptional circumstances” under N.J.S.A. 59:8-8.

       Next, Plaintiff suggests that he has substantially complied

 with the Tort Claims Act’s notice requirements and as such, his

 claims should not be dismissed. However, in order to avail oneself

 of the doctrine of substantial compliance, a Tort Claims Notice

 must actually be in writing and timely filed. D.D. v. Univ. of

 Med. & Dentistry of N.J., 213 N.J. 130, 158-59 (2013). It is only

 under those circumstance that a plaintiff may argue that he or she

 substantially    complied    with   the   notice   requirement    albeit   by

 providing something less that the complete information called for

 by the public entity. Id.        Since Plaintiff has failed to timely

 file a written notice of claim, he may not therefore invoke the

 doctrine of substantial compliance. 1

       Instead, Plaintiff clearly violated the Act by filing suit

 rather than serving a notice of claim which deprived the



 1 In support of his substantial compliance argument, Plaintiff cites case law
 applicable to the Affidavit of Merit Statute, NJSA 2A: 53A-27, which pertains
 to professional malpractice claims rather than the Tort Claims Act.


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 Defendants of the opportunity to evaluate their liability and

 potential exposure prior to the commencement of suit which is

 contrary to the underlying goals of the Act. See, Newberry v

 Twp. of Pemberton, 319 N.J. Super. 671, 675 (App. Div. 1999).

       Finally, The Tort Claims Act itself negates Plaintiff’s

 argument that statutes may not supersede common law, due process

 and the right to trial. See, e.g.          Rochinsky v State of N.J.

 Dept. of Transp., 110 N.J. 399 (1988).




                                 CONCLUSION

       For all of the foregoing reasons, as well as those expressed

 in their original application, Defendants respectfully request

 that their motion to dismiss Plaintiff’s Complaint in the within

 matter be granted.


                                      Respectfully Submitted,

                                      MATTHEW J. PLATKIN
                                      ACTING ATTORNEY GENERAL OF NEW JERSEY

                                By:   /s/ Timothy P. O’Brien
                                      Timothy P. O’Brien
                                      Deputy Attorney General

  DATED: July 11, 2022




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